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     JOSEPH A. WELCH, ESQ. STATE BAR NO. 119312
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 5   Attorney for Defendant, TATYANA SHVETS

 6
 7                          IN THE UNITED STATES DISTRICT COURT

 8                             EASTERN DISTRICT OF CALIFORNIA

 9
     UNITED STATES OF AMERICA,                       )    Case No.: 2:12-cr-00322 GEB
10                                                   )
11                         Plaintiff,                )    STIPULATION AND [PROPOSED]
                                                     )    ORDER CONTINUING JUDGMENT &
12                  vs.                              )    SENTENCING DATE
                                                     )
13   TATYANA SHVETS,                                 )    DATE: JANUARY 12, 2018
14                                                   )    TIME: 9:30 A.M.
                           Defendant.                )    JUDGE: GARLAND E. BURRELL, JR.
15                                                   )
16
17          Defendant, TATYANA SHVETS, by and through hER attorney, Joseph A. Welch, and
18   Plaintiff, United States of America, by and through its counsel, Assistant United States Attorney,
19   Heiko Coppola, hereby stipulate as follows:
20                                           STIPULATION
21          Plaintiff United States of America, by and through its counsel of record, and defendant
22   Tatyana Shvets, by and through her counsel of record, hereby stipulate that the judgment and
23   sentencing in the matter presently set for November 17, 2017, at 9:30 a.m. may be continued to
24
     January 12, 2018, at 9:30 a.m. for a judgment and sentencing.
25
            The parties have stipulated that the current date for the imposition of judgment and
26
     sentencing may be continued to January 12, 2018, at 9:30 a.m.
27
            Proposed Presentence Report                                 December 1, 2017
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     STIPULATION AND [PROPOSED] ORDER CONTINUING JUDGMENT AND SENTENCING DATE
                                                    -1-
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 1         Counsel’s written objections to the Presentence Report     December 15, 2017
 2         Presentence Report shall be filed with the Court           December 22, 2017
 3         Motion for Correction of the Presentence Report            December 29, 2017
 4         Reply, or Statement of Non-Opposition                      January 5, 2018
 5
           Judgment and Sentencing Date                               January 12, 2018
 6
     IT IS SO STIPULATED.
 7
     DATED: October 26, 2017                    /s/ Heiko Coppola                   __
 8                                              HEIKO COPPOLA
 9                                              Assistant United States Attorney

10
     DATED: October 26, 2017                    /s/ Joseph A. Welch________________
11                                              JOSEPH A. WELCH
12                                              Attorney for Defendant, SARKIS VARPETYAN

13
14   IT IS SO ORDERED.
15
     Dated: October 27, 2017
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     STIPULATION AND [PROPOSED] ORDER CONTINUING JUDGMENT AND SENTENCING DATE
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